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                                                                                    T. C :Ui? T
                     IN THE UNITED STATES DISTRICT COURT                        J~1C"
                                                                                  ,       Jk V
                    FOR THE SOUTHERN DISTRICT OF GEORGI A
                              BRUNSWICK DIVISIO N



CHRISTOPHER LEE McBEE,

              Petitioner,

       vs .                                               CIVIL ACTION NO. C (205-04 5

UNITED STATES OF AMERICA ,                                (CASE NO. CR295-6 )

              Respondent .


              MAGISTRATE JUDGE ' S REPORT AND RECOMMENDATIO N

       Defendant Christopher McBee ("McBee"), an inmate currently incarc ated at the

United States Penitentiary in Florence, Colorado, has filed a motion pursuant to 18

U .S .C .A . § 3582(c)(2) for modification of the sentence he received in this ourt . The

Government has responded to said motion, and McBee has filed a Reply . For he reasons

which follow, McBee's motion should be DENIED .

                               STATEMENT OF THE CAS E

       McBee pleaded guilty to: bank robbery, in violation of 18 U .S .C .A. §§ 113(a) and

(d) ; use of a firearm during the commission of a violent felony, in violation of 8 U .S.C .A.

§ 924(c)(1); and possession of a firearm by a convicted felon, in violation of 8 U .S.C.A.

§ 922(g)(1), in Case Number CR295-6 on April 13, 1995 . (CR295-6, Dkt . E ry No . 57 .)

The Court sentenced McBee to 300 months' imprisonment on Count 1 ; 0 months'

imprisonment on Count 2 , to be served consecutively with Count 1 ; and 0 months'

imprisonment on Count 3, to be served concurrently with Counts 1 and 2 . (CF 295-6, Dkt.

Entry No. 70 .) McBee filed a Notice of Appeal, and on May 15, 1997, the Ele nth Circuit
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Court of Appeals' judgment to affirm McBee's conviction and sentences wasssued as a

mandate . (CR295-6, Dkt. Entry No . 100 .) McBee then filed an out-of-time. motion to

vacate, modify, or set aside his sentence pursuant to 28 U .S.C .A. § 2255 on anuary 26,

1999 . On September 17, 1999, the undersigned recommended dismissal f McBee's

motion as having been untimely filed . The Court adopted the undersigned's Report and

Recommendation as the opinion of the Court, and McBee's motion was di missed on

September 29, 1999 . The Eleventh Circuit Court of Appeals denied McBee' motion for

certificate of appealability on March 21, 2000 .

       In the instant motion, McBee contends that he had a base offense level of 27 and

a criminal history category of V, which dictated a sentencing range of 120 to 50 months'

imprisonment as to Count 1 of the indictment . However, McBee asserts, the Court

concluded that McBee's sentence should be enhanced to 300 months' imprisonment as

to this Count based on facts not reflected in the indictment or admitted to by McBee .

McBee asserts that, as a result, the sentence he received is erroneous in light f the recen t

Supreme Court decisions in Blakely v . Washington , U .S . , 124 S . Ct. 531, 159 L.

Ed .2d 403 (2004), and United States v . Booker , U .S. , 125 S . Ct.             38, 160 L .

Ed .2d 621 (2005) .

                      DISCUSSION AND CITATION TO AUTHORIT Y

       The Government alleges that McBee's motion is a second or succes ive § 2255

motion and should be dismissed because the Eleventh Circuit Court of App is has not

granted McBee permission to file a second or successive section 2255 motion . McBee

avers that he is seeking a modification of his sentence, and, as such § 3582 c)(2) is the

appropriate section under which to analyze his claims .

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         McBee has styled his motion as being filed pursuant to section 3582(c 2), and the

Court declines to re-characterize his motion as having been brought pursua to § 2255 .

Pretermitting a determination of whether McBee's motion is a second or succe live motion

filed pursuant to section 2255, § 3582(c)(2) does not provide McBee's reque ted relief .

        According to § 3582(c)(2), a court may be permitted to modify a sent ce :

         in the case of a defendant who has been sentenced to a ter of
         imprisonment based on a sentencing range that has subsequently een
         lowered by the Sentencing Commission pursuant to 28 U .S.C.[A.] 99, (o)',
         upon motion of the defendant or the Director of the Bureau of Prisons, r on
         its own motion, the court may reduce the term of imprisonment, after
         considering the factors set forth in section 3553(a) to the extent that the are
         applicable, if such a reduction is consistent with applicable policy state ents
         issued by the Sentencing Commission .

18 U .S.C.A. § 3582(c)(2) . The sentencing guideline range for a defendan sentenced

under 18 U .S.C.A. §§ 2113(a) and (d) has not been lowered by the Sentencing

Commission pursuant to section 994(o) . The Supreme Court's decisions in 3lakely and

Booker undoubtedly have had an effect on the Sentencing Guidelines . See U ited States

v.Magluta , F.3d , 2005 WL 1750143, *13 (11th Cir . July 27, 2005) noting that

Booker effectively rendered the Sentencing Guidelines advisory) . H ever, the

Sentencing Commission has not lowered the sentencing range applicable o the ban k



' The Commission periodically shall review and revise, in consideration of comments and dat coming to its
attention , the guidelines promulgated pursuant to the provisions of this section . In fulfilling it duties and in
exercising its powers, the Commission shall consult with authorities on, and individual a institutional
representatives of, various aspects of the Federal criminal justice system . The United Sta es Probation
System, the Bureau of Prisons, the Judicial Conference of the United States , the Criminal ivision of the
United States Department of Justice, and a representative of the Federal Public Defenders sha submit to the
Commission any observations, comments, or questions pertinent to the work of the Commis on whenever
they believe such communication would be useful, and shall, at least annually, submit to the ommission a
written report commenting on the operation of the Commission ' s guidelines , suggesting c angel in the
guidelines that appear to be warranted , and otherwise assessing the Commission ' s work . 8 U .S .C .A. §
944(o) .


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robbery offenses (Count 1 of the indictment) for which McBee was convicted . McBee i s

not entitled to his requested relied pursuant to § 3582(c)(2) .

                                      CONCLUSION

       Based on the foregoing, it is my RECOMMENDATION that McBee'                   motion for

modification filed pursuant 28 U .S .C.A. § 3582(c)(2) be DENIED .

       SO REPORTED and RECOMMENDED , this                 &       day of August, 2



                                                                     :


                                                  JAMES E . GRAHAM
                                                    NITED STATES MAGIST              E JUDGE




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                      United States District Court
                            Southern. District of Georgia


CHRISTOPHER LEE MCBE E


vs                                               CASE NUMBER CV205- 45 CR295- 6
USA                                                                    BRUNSWICK
                                                  DIVISION

       The undersigned, a regularly appointed and qualified deputy in the office of the Cl k of this
       district, while conducting the business of the Court for said division, does hereby c rtify the
       following :



        1.      Pursuant to the instructions from the Court and in the performance of my o icial
                duties, I personally placed in the United States Mail a sealed envelope, and properly
                addressed to each of the persons, parties or attorneys named below ; and

        2 . That the aforementioned enveloped contained a copy of the document date
               8/8/05                 , which is part of the official record of this cas e


Date of Mailing :           8/8/05

Date of Certificate                      same date, or

                                               Scott L . Poff, Clerk



                                               By :   NITA ROSE
                                                      Deputy Clerk
Name and Address
AMY LEE COPELAN D
CHRISTOPHER LEE MCBEE U .S . PENITENTIARY BOX 7000 FLORENCE, CO 8122 6




                                                                         ❑      Copy placed in Minutes
                                                                         ❑      Copy given Judge

                                                                         ❑      Copy given     Magistrate
